                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

IN RE FOUR APPLICATIONS FOR SEARCH
WARRANTS SEEKING INFORMATION
ASSOCIATED WITH PARTICULAR                                 CRIMINAL NO. 3:25-CR-38-CWR-ASH
CELLULAR TOWERS
A/K/A TOWER-DUMP WARRANTS

                             MOTION TO STAY PROCEEDINGS

       The United States of America respectfully requests that the proceedings in this matter be

stayed for a period of ninety (90) days, to include the briefing and ruling on any pending motions.

       On February 21, 2025, the magistrate judge issued an opinion denying four search warrants

for cell tower data in relation to various service providers. See Doc. No. 6. On March 4, 2025, the

government submitted a motion for an extension of time requesting an additional fourteen days to

file a motion to reverse or vacate the magistrate judge’s order. See Doc. No. 7. On March 5, 2025,

the Court granted the government’s motion and extended the filing deadline to March 21, 2025.

See Doc. No. 8. The government is requesting a stay of the proceedings to provide additional time

to determine whether it will seek review of the magistrate judge’s order pending on this docket.

       “The district court has the inherent power to control its own docket, including the power

to stay proceedings.” Datatreasury Corp. v. Wells Fargo & Co., 490 F. Supp. 2d 749, 754 (E.D.

Tex. 2006) (quoting Soverain Software LLC v. Amazon.com, Inc., 356 F.Supp.2d 660, 662 (E.D.

Tex. February 9, 2005)). Moreover, “[t]he power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Id. (quoting Landis v. N. Am. Co., 299 U.S. 248

(1936)). The government’s request for a stay is not sought for the purpose of delay, and the

government, in good faith, believes that a stay is necessary to assess whether to pursue further



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review. As no other party is currently involved in this matter, there is no opposition to this request

nor will there be any prejudice.

       Accordingly, the United States respectfully requests a stay of ninety (90) days of the

proceedings in this matter, including all briefing and ruling on motions. The United States requests

any other relief the Court deems appropriate.

                                                Respectfully submitted,


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